Case 1:04-cr-00679-DGT   Document 24   Filed 06/28/05   Page 1 of 6 PageID #: 53




                                           s/David G. Trager
Case 1:04-cr-00679-DGT   Document 24   Filed 06/28/05   Page 2 of 6 PageID #: 54
Case 1:04-cr-00679-DGT   Document 24   Filed 06/28/05   Page 3 of 6 PageID #: 55
Case 1:04-cr-00679-DGT   Document 24   Filed 06/28/05   Page 4 of 6 PageID #: 56
Case 1:04-cr-00679-DGT   Document 24   Filed 06/28/05   Page 5 of 6 PageID #: 57
Case 1:04-cr-00679-DGT   Document 24   Filed 06/28/05   Page 6 of 6 PageID #: 58
